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   Alex Acosta acted with professionalism and
   integrity in handling the Jeffrey Epstein case
   BY JEFFREY H. SLOMAN


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   By now, you have probably formed some views on the Jeffrey Epstein case. You
   are, like me, repulsed by Epstein’s conduct. You probably also believe, as I do now
   that more facts have emerged, that Epstein deserved harsher punishment than he
   ended up getting. No one will argue seriously against these views.

   But based on the Miami Herald’s “Perversion of Justice” series and the ensuing
   news coverage, you may also believe that well-connected lawyers corrupted now-
   Secretary of Labor and then-U.S. Attorney Alex Acosta and his team into giving
   Epstein a sweetheart deal. They did not. I would know. I was there.

   In the late 2000s, I worked as Alex’s second-in-command at the U.S. Attorney’s
   Office for the Southern District of Florida. The Epstein case came to our attention
   in 2006. The local authority with primary jurisdiction to hold Epstein accountable
   for his crimes, the Palm Beach County State Attorney’s Office, was going to allow
   him to plead guilty to a misdemeanor and merely pay a fine. The local police
   rightly were outraged and brought the facts to us.

   After reviewing the case, we were appalled. Stunningly, the local prosecutors’
   resolution had not even acknowledged that Epstein engaged in abhorrent sex acts
   with scores of children. Despite our shock, we approached this case as federal
   prosecutors should approach every case: with a steadfast commitment to truth and
   a deep and abiding respect for the rights that our constitution and our laws afford to
   both victims and the accused. Our priorities were to make sure Epstein could not
   hurt anyone else and to compensate Epstein’s victims without retraumatizing them.

   Our team worked diligently to build a federal case against Epstein. Throughout the
   investigation, we took care to be respectful of the pain Epstein’s victims had
   endured. As we continued, however, it became clear that most of Epstein’s victims


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   were terrified to cooperate against him. Some hired lawyers to avoid appearing
   before a grand jury. One of the key witnesses moved to Australia and refused to
   return calls from us. We also researched and discussed significant legal
   impediments to prosecuting what was, at heart, a local sex abuse case.

   Given the obstacles we faced in fashioning a robust federal prosecution, we
   decided to negotiate a resolution. The only way a resolution could ever be
   palatable, though, was if we met our two objectives: to protect others from Epstein
   and to compensate Epstein’s victims without subjecting them to additional trauma.

   To those ends, we demanded that Epstein: (1) plead guilty to a felony in state court
   that reflected his true conduct; (2) agree to incarceration for up to 18 months; (3)
   register as a sex offender; and (4) pay each known victim between $150,000 and
   $250,000 through a streamlined mechanism designed to avoid revictimization. We
   genuinely felt that these conditions met our two objectives. We told Epstein that
   unless he and the local authorities accepted our demands, we would indict and try
   him on federal charges. They agreed, and we did not pursue a federal case.

   Many feel that this was not a harsh enough punishment. Make no mistake: I know
   that our resolution was not perfect, and that Epstein was able to use the resources
   at his disposal to exploit its weaknesses.

   That said, some have mistakenly suggested that our office kowtowed to Epstein’s
   high-priced defense lawyers or, worse, that his lawyers intimidated us into
   submission. The Herald’s “Perversion of Justice” series made a strong case that he
   should have gone to jail for much longer, but never explained or substantiated its
   accusation that we schemed with Epstein’s lawyers to avoid that result.

   The team that worked the case was clear-eyed and dedicated. I have not reviewed
   the case file in more than 12 years, but I know in my heart that we based our
   actions solely on our independent interpretation of the facts and the law. You can
   disagree with the result we reached, but our whole team — from Alex on down the
   chain of command — always acted with integrity and in good faith.

   I feel a special obligation to defend Alex from the unfair criticism he has received
   after the Herald published “Perversion of Justice.” There was no public outcry for
   Alex to withdraw his candidacy for Secretary of Labor when, a month before his

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   Senate confirmation hearing, the Herald featured an earlier article about the
   Epstein case. To the contrary, senators barely gave Alex the opportunity to discuss
   the case during his testimony and went on to confirm him by a relatively wide
   margin.

   Now, with the Herald’s series serving as kindling, an outstanding public servant is
   at risk of becoming collateral damage in Washington’s latest polarized
   conflagration. I won’t let that happen without first being heard.

   I am a lifelong Democrat. My personal political views do not align with Alex’s
   views and I did not vote for the president for whom Alex now serves as secretary
   of Labor. But I know the leader and the person that Alex is. He is an honorable and
   decent man. Nothing about the Epstein case changes my view of his character. I
   hope that our leaders take my experiences into account as his stellar career and
   reputation hang in the balance.

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   attorney from 2009-2010.




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